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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

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                                                                       : PROMESA
  In re:                                                               : Title III
                                                                       :
  THE FINANCIAL OVERSIGHT AND                                          : Case No. 17-bk-3283 (LTS)
  MANAGEMENT BOARD FOR PUERTO RICO                                     :
                                                                       : (Jointly Administered)
           as representative of                                        :
                                                                       :
  THE COMMONWEALTH OF PUERTO RICO, et al.,1                            :
                                                                       :
                             Debtors.                                  :
                                                                       :
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                   NOTICE OF FILING OF SUPPLEMENTAL DECLARATION
                       OF JOFF MITCHELL OF ZOLFO COOPER, LLC

            PLEASE TAKE NOTICE that on July 11, 2017 the Official Committee of Unsecured

  Creditors of all title III Debtors (other than PBA and COFINA) (the “Committee”) filed the

  Application of Official Committee of Unsecured Creditors of Commonwealth of Puerto Rico for

  Entry of Order Authorizing Employment and Retention of Zolfo Cooper, LLC as Financial Advisor

  Effective as of June 27, 2017 (the “Application”) [Docket No. 615], and an order was entered by

  the Court approving the Application on August 10, 2017 [Docket No. 1001].




  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID:
      3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17- BK-3284-LTS)
      (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
      (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement
      System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17- BK-3566-
      LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
      (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public
      Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID:
      3801) (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
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         PLEASE TAKE FURTHER NOTICE that on September 14, 2017, the Committee filed

  the Notice of Filing of Supplemental Declaration of Carol Flaton in Furtherance of Application

  of Official Committee of Unsecured Creditors of Commonwealth of Puerto Rico for Entry of Order

  Authorizing Employment and Retention of Zolfo Cooper, LLC as Financial Advisor, Effective as

  of June 27, 2017 (the “Second Supplemental Declaration) [Docket No. 1304].

         PLEASE TAKE FURTHER NOTICE that on November 14, 2017, the Committee filed

  the Notice of Filing of Supplemental Declaration of Carol Flaton in Furtherance of Application

  of Official Committee of Unsecured Creditors of Commonwealth of Puerto Rico for Entry of Order

  Authorizing Employment and Retention of Zolfo Cooper, LLC as Financial Advisor, Effective as

  of June 27, 2017 (the “Third Supplemental Declaration”) [Docket No. 1769].

         PLEASE TAKE FURTHER NOTICE that on November 6, 2018, the Committee filed

  the Notice of Filing of Supplemental Declaration of Carol Flaton in Furtherance of Application

  of Official Committee of Unsecured Creditors of Commonwealth of Puerto Rico for Entry of Order

  Authorizing Employment and Retention of Zolfo Cooper, LLC as Financial Advisor, Effective as

  of June 27, 2017 (“Fourth Supplemental Declaration”) [Docket No. 4189].

         PLEASE TAKE FURTHER NOTICE that on December 11, 2018, the Committee filed

  the Notice of Filing of Supplemental Declaration of Carol Flaton of Zolfo Cooper, LLC (“Fifth

  Supplemental Declaration”) [Docket No. 4445].

         PLEASE TAKE FURTHER NOTICE that on May 1, 2019, the Committee filed the

  Notice of Filing of Supplemental Declaration of Carol Flaton of Zolfo Cooper, LLC (“Sixth

  Supplemental Declaration”) [Docket No. 6780].




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         PLEASE TAKE FURTHER NOTICE that on July 1, 2019, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Seventh

  Supplemental Declaration”) [Docket No. 7778].

         PLEASE TAKE FURTHER NOTICE that on April 29, 2020, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Eighth

  Supplemental Declaration”) [Docket No. 12988].

         PLEASE TAKE FURTHER NOTICE that on July 27, 2020, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Ninth

  Supplemental Declaration”) [Docket No. 13848].

         PLEASE TAKE FURTHER NOTICE that on November 9, 2020, the Committee filed

  the Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Tenth

  Supplemental Declaration”) [Docket No. 15040].

         PLEASE TAKE FURTHER NOTICE that on May 4, 2021, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Eleventh

  Supplemental Declaration”) [Docket No. 16679].

         PLEASE TAKE FURTHER NOTICE that on March 4, 2022, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (“Twelfth

  Supplemental Declaration”) [Docket No. 20263].

         PLEASE TAKE FURTHER NOTICE that on May 16, 2022, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (the

  “Thirteenth Supplemental Declaration”) [Docket No. 20828].




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         PLEASE TAKE FURTHER NOTICE that on July 19, 2022, the Committee filed the

  Notice of Filing of Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (the

  “Fourteenth Supplemental Declaration”) [Docket No. 21545].

         PLEASE TAKE FURTHER NOTICE that in support of the Application, attached hereto

  as Exhibit A is the Supplemental Declaration of Joff Mitchell of Zolfo Cooper, LLC (the “Fifteenth

  Supplemental Declaration”).

                            [Remainder of page intentionally left blank]




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   Dated: November 11, 2022       /s/ G. Alexander Bongartz            .

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                                  Nicholas A. Bassett, Esq. (Pro Hac Vice)
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                                  Counsel to the Official Committee of Unsecured
                                  Creditors

                                  - and -

                                  /s/ Juan J. Casillas Ayala       .

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                                  Local Counsel to the Official Committee of
                                  Unsecured Creditors




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                                   EXHIBIT A
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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

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                                                                       : PROMESA
  In re:                                                               : Title III
                                                                       :
  THE FINANCIAL OVERSIGHT AND                                          : Case No. 17-bk-3283 (LTS)
  MANAGEMENT BOARD FOR PUERTO RICO                                     :
                                                                       : (Jointly Administered)
           as representative of                                        :
                                                                       :
  THE COMMONWEALTH OF PUERTO RICO, et al.,1                            :
                                                                       :
                             Debtors.                                  :
                                                                       :
  ---------------------------------------------------------------      x


                               SUPPLEMENTAL DECLARATION
                          OF JOFF MITCHELL OF ZOLFO COOPER, LLC

            Pursuant to 28 U.S.C. § 1746, I, Joff Mitchell, state under penalty of perjury, that:

            1.      I am an authorized representative of Zolfo Cooper, LLC (“Zolfo Cooper”),2 which

  has a place of business at 909 Third Avenue, Floor 30, New York, New York 10022.

            2.      Except as otherwise noted, I have personal knowledge of the matters set forth herein

  and, if called as a witness, would testify competently thereto.

            3.      I am filing this supplemental declaration to supplement the disclosures that were


  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID:
      3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17- BK-3284-LTS)
      (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
      (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement
      System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17- BK-3566-
      LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
      (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public
      Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID:
      3801) (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
  2
      On November 1, 2018, AlixPartners, LLP acquired Zolfo Cooper, LLC. A Supplemental Declaration disclosing
      the acquisition of Zolfo Cooper, LLC by AlixPartners, LLP was filed on November 6, 2018 (Docket No. 4189).
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  included in the original declaration dated July 11, 2017 [ECF No. 615-3] filed in support of the

  Application of the Official Committee of Unsecured Creditors of the Commonwealth of Puerto

  Rico, for Entry of an Order Authorizing the Employment and Retention of Zolfo Cooper as

  Bankruptcy Consultant and Financial Advisor to the Committee nunc pro tunc to June 27, 2017

  [ECF No. 615-1] and the prior supplemental declarations filed with this Court [ECF Nos. 1304,

  1769, 4189, 4445, 6780, 7778, 12988, 13848, 15040, 16679, 20263, 20828, and 21545].

         4.      In accordance with the Puerto Rico Recovery Accuracy in Disclosures Act (the

  “PRRADA”) and the Court’s related orders [Docket Nos. 19859, 19980, 20419, and 20467], the

  Oversight Board submitted an initial List of Material Interested Parties, as defined in the PRRADA

  (the “Initial MIP List”), which the Oversight Board thereafter amended (the “Amended MIP List”

  and, together, the “MIP List”). On March 21 and 30, 2022, the Court directed that, “to the extent

  any professional persons (as identified in PRRADA) have already complied with the requirements

  of Rule 2014(a) of the Federal Rules of Bankruptcy Procedure, any future disclosures by such

  professional persons as required by PRRADA must supplement, but need not duplicate, what has

  already been filed by those professional persons.” See Docket Nos. 20419 and 20467.

         5.      Consistent with these orders, Zolfo Cooper continues to review its conflicts check

  system for these parties, and the results were compiled and analyzed by Zolfo Cooper professionals

  acting under my supervision.

         6.      In its capacity as a subsidiary of AlixPartners, LLP and affiliates (“AP”), Zolfo

  Cooper would like to disclose the following:

       AP follows a practice to solicit from the members of its Boards their connections to the
        parties in interest independent of AP. In response, one or more of the members of its
        Boards have offered the following disclosures:

              o Arent Fox LLP, a professional in this bankruptcy matter, is a current or former legal
                services provider to an AP investor or one of its affiliates.


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            o O`Melveny & Myers LLP, a professional in this bankruptcy matter, is a current or
              former legal services provider to an AP investor or one of its affiliates.

        As disclosed in the Twelfth Supplemental Declaration, AlixPartners was engaged to
         provide services to (i) the Commonwealth of Puerto Rico and Bank of New York Mellon
         as Trustee in connection with the annual calculation of outperformance metrics with
         respect to securities to be issued upon the effectiveness of the Commonwealth of Puerto
         Rico’s plan of adjustment (the “Plan”); and (ii) the Commonwealth of Puerto Rico with
         respect to certain annual future obligations contingent upon the Commonwealth’s actual
         surplus relative to the certified fiscal plan as of the effective date of the Plan (the
         “Contingent Future Obligations”). As further disclosed in the Twelfth Supplemental
         Declaration, the provision of these services by AlixPartners were all contingent upon the
         effectiveness of the Plan and execution of formal engagement letters on both
         workstreams. As of the date hereof, the Plan has gone effective and engagement letters
         on both workstreams have been executed.

        Abengoa Puerto Rico S.E. and Abengoa S.A., material creditors and inactive claimants of
         PREPA in this bankruptcy matter, and affiliates are adverse litigation parties to a current
         AP client in matters unrelated to the Debtors.

        ACP Master, LTD., a party in interest in this bankruptcy matter, is an adverse litigation
         party to a former AP client in matters unrelated to the Debtors.

        AES Ilumina, LLC and AES Puerto Rico L.P, material creditors of PBA in this bankruptcy
         matter, and affiliates are lenders and affiliates to a current AP client in matters unrelated to
         the Debtors.

        Alvarez & Marsal North America, LLC, a professional in this bankruptcy matter, and
         affiliates are parent companies to former AP clients in matters unrelated to the Debtors.

        Ankura Consulting Group, LLC, a professional in this bankruptcy matter, and affiliates are
         lenders to current and former AP clients in matters unrelated to the Debtors.

        Bailey Duquette P.C., counsel to a material creditor in this bankruptcy matter, is a
         professional to a current AP client in matters unrelated to the Debtors.

        Barings LLC, a material creditor of PREPA in this bankruptcy matter, is a parent company
         to a former AP client in matters unrelated to the Debtors.

        Becton Dickinson and Company, Becton Dickinson Biosciences, Becton Dickinson
         Biosciences, System and Reagents, and Becton Dickinson Caribe LTD, parties in interest
         in this bankruptcy matter, and affiliates are former employers of a current AP employee.

        Black Diamond Credit Strategies Master Fund, Ltd., a Commonwealth inactive claimant
         and material creditor of PREPA in this bankruptcy matter, and affiliates are parent
         companies and adverse litigation parties to former AP clients in matters unrelated to the
         Debtors.

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        BlueMountain Capital Management, LLC, on behalf of itself and funds and/or accounts
         managed or advised by it, BlueMountain Credit Alternatives Master Fund L.P.,
         BlueMountain Credit Opportunities Master Fund I L.P., BlueMountain Foinaven Master
         Fund L.P., BlueMountain Fursan Fund L.P., BlueMountain Guadalupe Peak Fund L.P.,
         BlueMountain Kicking Horse Fund L.P., BlueMountain Logan Opportunities Master Fund
         L.P., BlueMountain Montenvers Master Fund SCA SICAV-SIF, BlueMountain Summit
         Trading L.P. and BlueMountain Timberline LTD., litigation parties to the Debtors, and
         affiliates are lienholders to a current AP client in matters unrelated to the Debtors.

        Brigade Capital Management, LP, a party in interest in this bankruptcy matter, is a
         lienholder to a current AP client in matters unrelated to the Debtors.

        Brown Rudnick LLP, a professional in this bankruptcy matter, is a former employer of a
         current AP employee.

        Cardinal Health PR 120, INC., a Commonwealth inactive claimant in this bankruptcy
         matter, and affiliates are litigation parties to current AP clients in matters unrelated to the
         Debtors.

        Cesar Castillo, Inc., a material creditor of the Commonwealth in this bankruptcy matter, is
         a professional to a former AP client in matters unrelated to the Debtors.

        CNA Surety and Continental Casualty Company, material creditors of PREPA in this
         bankruptcy matter, are insurance providers to AP

        Continental Casualty Company, a party in interest in this bankruptcy matter, is an insurance
         provider to AP.

        Costco Wholesale Corporation (“Costco”), a party in interest in this bankruptcy matter, is
         a lessee to a current AP client in matters unrelated to the Debtors. Costco is a former
         employer of a current AP employee.

        Crowe Horwath LLP, a party in interest in this bankruptcy matter, and affiliates are vendors
         to AP.

        Dechert, LLP, a professional in this bankruptcy matter, is a former employer of a current
         AP employee.

        Dentons US LLP, a professional in this bankruptcy matter, and affiliates are opposing
         counsel to a current AP client in matters unrelated to the Debtors.

        DLA Piper (Puerto Rico) LLC and DLA Piper LLP (US), professionals in this bankruptcy
         matter, and affiliates are current legal services providers to AP.

        Drivetrain, LLC, as the Creditors’ Trustee for Doral Financial Corporation, an Official
         Committee of Unsecured Creditors Member in this bankruptcy matter, is a professional to
         a current AP client in matters unrelated to the Debtors.

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        General Electric Company and GE Industrial of PR LLC and Caribe GE International of
         Puerto Rico, Inc., Commonwealth inactive claimants in this bankruptcy matter, and
         affiliates (“GE”) are bondholders, adverse litigation parties, lenders, associated companies,
         related parties, litigation parties, shareholders, lienholders, lessors, director-affiliates
         companies and joint venture entities to current and former AP clients in matters unrelated
         to the Debtors. GE is a current and former AP client in matters unrelated to the Debtors.
         GE is a former employer of current AP employees.

        Global Opportunities LLC and Global Opportunities Offshore LTD, parties in interest in
         this bankruptcy matter, and affiliates are lenders to a current AP client in matters unrelated
         to the Debtors.

        HDI Global Insurance Company, an HTA inactive claimant in this bankruptcy matter, and
         affiliates are insurance providers to AP.

        Hewlett Packard Caribe BV, LLC and Hewlett Packard Enterprise Development LP,
         Commonwealth inactive claimants in this bankruptcy matter, and affiliates (“HP”) are
         lessors to current AP clients in matters unrelated to the Debtors. HP is a vendor to AP.

        Luskin, Stern & Eisler LLP, a professional in this bankruptcy matter, is counsel to a current
         AP client in matters unrelated to the Debtors.

        Macy's Puerto Rico, a material creditor of the Commonwealth in this bankruptcy matter,
         and affiliates are former employers of a current AP employee.

        Marathon Asset Management, LP, on behalf of funds and/or accounts managed or advised
         by it, a PREPA material creditor in this bankruptcy matter, and affiliates are lienholders to
         a current AP client in matters unrelated to the Debtors.

        Maslon LLP, counsel to material creditors in this bankruptcy matter, is a professional to a
         current AP client in matters unrelated to the Debtors.

        Nixon Peabody, a professional in this bankruptcy matter, is counsel to a current AP client
         in matters unrelated to the Debtors.

        Nokota Capital Master Fund, LP, a material creditor in this bankruptcy matter, and
         affiliates are shareholders to a former AP client in matters unrelated to the Debtors.

        O`Melveny & Myers LLP, a professional in this bankruptcy matter, is a professional and
         counsel to current AP clients in matters unrelated to the Debtors.

        Pfizer Pharmaceuticals LLC, a Commonwealth inactive claimant in this bankruptcy matter,
         is a former employer of a current AP employee.

        Puerto Rico Electric Power Authority, a Debtor in this bankruptcy matter, is a former AP
         client in unrelated matters.



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        Ropes & Gray LLP, a professional in this bankruptcy matter, is a former employer of a
         current AP employee.

        Shell Trading (US) Company, a material creditor and inactive claimant of the
         Commonwealth in this bankruptcy matter, and affiliates are litigation parties to a current
         AP client in matters unrelated to the Debtors.

        Silver Point Capital Fund, LP, Silver Point Capital Offshore Master Fund, L.P. and Silver
         Point Capital, L.P., parties in interest in this bankruptcy matter, and affiliates are investors
         to a former AP client in matters unrelated to the Debtors.

        Skadden, Arps, Slate, Meagher & Flom LLP, a professional in this bankruptcy matter, is a
         former legal services provider to AP.

        State Street Global Advisors Trust Company, a PREPA inactive claimant in this
         bankruptcy matter, and affiliates are litigation parties to a current AP client in matters
         unrelated to the Debtors.

        Taconic Master Fund 1.5 L.P. and Taconic Opportunity Master Fund L.P., parties in
         interest in this bankruptcy matter, and affiliates are lienholders to a current AP client in
         matters unrelated to the Debtors.

        The Bank of Nova Scotia as Transferee of Scotiabank de Puerto Rico, a Commonwealth
         inactive claimant in this bankruptcy matter, is a parent company to a former AP client in
         matters unrelated to the Debtors.

        The Brattle Group, Inc., a professional in this bankruptcy matter, is opposing counsel to a
         current AP client in matters unrelated to the Debtors.

        The Travelers Indemnity Company, a material creditor of the Commonwealth in this
         bankruptcy matter, and affiliates are litigation parties to current and former AP clients in
         matters unrelated to the Debtors.

        U.S. Department of Labor, a Commonwealth inactive claimant in this bankruptcy matter,
         is an adverse litigation party to former AP clients in matters unrelated to the Debtors.

        UMB Bank, N.A., as Successor Trustee for the Puerto Rico Infrastructure Financing
         Authority (“PRIFA”) Mental Health Infrastructure Revenue Bonds, 2007 Series A (MEPSI
         Campus Project), a material creditor of HTA in this bankruptcy matter, is a current AP
         client in matters unrelated to the Debtors.


         7.      I continue to reserve the right to supplement Zolfo Cooper’s disclosures in the event

  that I learn of any additional connections that require disclosure. If any new material relevant facts

  or relationships are discovered or arise, Zolfo Cooper will promptly file a supplemental declaration

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  pursuant to Bankruptcy Rule 2014(a).

         I declare under penalty of perjury pursuant to 28 U.S.C. §1746 that the foregoing is true

  and correct.

  Dated: November 10, 2022


                                                            /s/ Joff Mitchell
                                                            Joff Mitchell
                                                            Zolfo Cooper, LLC




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